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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                     LAFAYETTE-OPELOUSAS DIVISION

 ROLLS-ROYCE NAVAL MARINE,                   DOCKET NO. 6:10-cv-00655
 INC.

 VERSUS                                      JUDGE DOHERTY

 A&B INDUSTRIES OF MORGAN                    MAGISTRATE JUDGE HANNA
 CITY, INC.


                      REPORT AND RECOMMENDATION

                                   (Rec. Doc. 9)


       Before the Court is the motion to stay (Rec. Doc. 9), which was filed by the

 defendant, A&B Industries of Morgan City, Inc. For the reasons set forth below, it

 is recommended that the motion be DENIED AS MOOT, and it is further

 recommended that this matter be DISMISSED sua sponte, without prejudice.



                                  BACKGROUND

       This declaratory judgment action arises out of a commercial transaction. In

 July, 2007 and again in May, 2008, A&B Industries of Morgan City, Inc. furnished

 to Johnny’s Propeller Shop, Inc. the data and specifications for five identical

 pushboats that were scheduled for construction. A&B asked Johnny’s to provide a

 quote for the sale of ten suitable propellers to properly equip and propel the
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 pushboats. In turn, Johnny’s submitted A&B’s vessel data and specifications to

 Rolls-Royce Naval Marine, Inc. and requested that Rolls-Royce design and

 manufacture suitable propellers. As the propellers were manufactured, Rolls-Royce

 sold them to Johnny’s and Johnny’s then sold them to A&B.

       After the propellers were installed, A&B determined that the propellers caused

 excessive vibration of the pushboats because the propeller blades were too thin.

 A&B made amicable demand upon Rolls-Royce and also upon Johnny’s for the

 $598,424.55 it claims was expended in investigating and repairing the propellers.

       In this lawsuit, Rolls-Royce seeks a judgment declaring that it is not liable to

 A&B, pursuant to the terms of the contract between Rolls-Royce and Johnny’s, or in

 the alternative, that A&B’s recovery is limited by the terms and conditions contained

 in the contract between Rolls-Royce and Johnny’s.

       Less than a week after this lawsuit was filed, A&B filed a petition in

 redhibition in the 16th Judicial District Court, St. Mary Parish, Louisiana, naming both

 Rolls-Royce and Johnny’s as defendants. Johnny’s, as a domestic entity, could not be

 brought in to this case as a defendant as it is not diverse from A&B. Consequently,

 as the litigation currently stands, the forum where the rights of all three parties can

 be litigated is the 16th Judicial District Court. A&B filed the instant motion seeking




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 to stay this federal court proceeding, however, at oral argument, A&B indicated it had

 no objection to this matter being dismissed.

                                            DISCUSSION

        This lawsuit presents a claim under the Federal Declaratory Judgment Act, 28

 U.S.C. § 2201(a).1 Under that statute, “a district court may declare the rights and

 other legal relations of any interested party seeking such declaration. However, the

 district court is not compelled to exercise that jurisdiction.”2 Because this is a

 declaratory judgment action, A&B’s motion to stay is governed by the standard

 articulated in Brillhart v. Excess Insurance Co. of America3 and Wilton v. Seven Falls

 Co.4 Under that standard, “a district court [has] broad discretion in determining

 whether to hear an action brought pursuant to the Declaratory Judgment Act.”5 The

 Court’s discretion, however, is not unfettered.6




        1
                Rec. Doc. 1 at 1.
        2
                American Employers' Ins. Co. v. Eagle Inc., 122 Fed. App’x 700, 702 (5th Cir. 2004)
 (internal quotations omitted), citing Brillhart v. Excess Ins. Co. of America, 316 U.S. 491, 494
 (1942), and Wilton v. Seven Falls Co., 515 U.S. 277, 286-87 (1995).
        3
                316 U.S. 491, 495 (1942).
        4
                515 U.S. 277, 289-90 (1995).
        5
                New England Ins. Co. v. Barnett, 561 F.3d 392, 394 (5th Cir. 2009).
        6
                St. Paul Insurance Co. v. Trejo, 39 F.3d 585, 590 (5th Cir. 1994).

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        To assist in defining the parameters of a District Court’s discretion, the Fifth

 Circuit developed a seven-part test for deciding whether to retain jurisdiction over

 declaratory judgment actions.7 The factors, which are not exhaustive, mandatory, or

 exclusive,8 address three broad considerations – federalism, fairness/improper forum

 shopping, and efficiency.9 The seven factors are: (1) whether there is a pending state

 action in which all of the matters in controversy may be fully litigated; (2) whether

 the plaintiff filed suit in anticipation of a lawsuit filed by the defendant; (3) whether

 the plaintiff engaged in forum shopping in bringing the suit; (4) whether possible

 inequities exist by allowing the declaratory plaintiff to gain precedence in time or to

 change forums; (5) whether the federal court is a convenient forum for the parties and

 witnesses; (6) whether retaining the lawsuit in federal court would serve the purposes

 of judicial economy; and (7) whether the federal court is being called upon to

 construe a state judicial decree involving the same parties and entered by the court

 before whom the parallel state suit between the same parties is pending.10 The




        7
               St. Paul v. Trejo, 39 F.3d at 590-91.
        8
               Granite State Insurance Co. v. Tandy Corp., 986 F.2d 94, 96 (5th Cir. 1992), cert.
 denied, 506 U.S. 813 (1993).
        9
               Sherwin-Williams Co. v. Holmes County, 343 F.3d 383, 390-391 (5th Cir. 2003).
        10
               St. Paul v. Trejo, 39 F.3d at 590-91.

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 undersigned finds that, in this case, these seven factors militate in favor of this Court

 not exercising jurisdiction over this case.

          The first factor, whether there is a pending state action in which all of the

 matters in controversy may be fully litigated, weighs heavily against this Court

 hearing the case. “[A]bstention from a declaratory judgment action is ordinarily

 appropriate when the state offers an adequate alternative forum in which to resolve

 the particular dispute.”11 In this case, only as it pertains to A&B and Rolls-Royce,

 the matter to be resolved is the effect and interpretation of a contract, or more likely

 whether a claim under the Louisiana law of redhibition exists. In either event, it is a

 matter that can be competently resolved by a state court. No question of federal law

 has been presented. “[I]f the federal declaratory judgment action raises only issues

 of state law and a state case involving the same state law issues is pending, generally

 the state court should decide the case and the federal court should exercise its

 discretion to dismiss the federal suit.”12 This factor has been considered “of

 paramount concern.”13 Consequently, this is precisely the type of case in which the

 federal court should defer in favor of the related state court action.

          11
                Southwind Aviation, Inc. v. Bergen Aviation, Inc., 23 F.3d 948, 950 (5th Cir. 1994).
          12
                Sherwin-Williams v. Holmes County, 343 F.3d at 390-391.
          13
                Am. Fid. Ins. Co. v. Acadian Geophysical Serv., Inc., 1997 WL 786233, 2 (E.D. La.
 1997).

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        The second factor to be considered is whether the plaintiff filed suit in

 anticipation of a lawsuit filed by the defendant, and the third factor is whether the

 plaintiff engaged in forum shopping in bringing the suit. In this case, it appears that

 Rolls-Royce brought this suit in anticipation of suit by A&B and did so in order to

 select the forum for the litigation. A&B sent a demand letter to Rolls-Royce on April

 7, 2010; this lawsuit was filed on April 20, 2010; and the state court suit was filed

 April 26, 2010. However, “the mere act of filing a federal declaratory action in

 anticipation of a state lawsuit is not, in and of itself, impermissible.”14 What is

 important is “whether there was a legitimate reason to be in federal court.”15 A desire

 to avoid a plaintiff-friendly state court jury is not an illegitimate reason.16 Similarly,

 a party seeking to avail itself of the traditional justification for diversity jurisdiction,

 ensuring fairness for out-of-state litigants, is not an illegitimate reason for filing suit

 in federal court.17 Rolls-Royce has explained in its briefing that it is an out-of-state

 company. Consequently, there is no evidence that Rolls-Royce filed this suit for any

 illegitimate reason, and neither of these two factors militates one way or the other.


        14
              American Employers' v. Eagle, 122 Fed. App’x at 703, citing Sherwin-Williams v.
 Holmes County, 343 F.3d at 397-99.
        15
               American Employers' v. Eagle, 122 Fed. App’x at 703.
        16
               American Employers' v. Eagle, 122 Fed. App’x at 703.
        17
               American Employers' v. Eagle, 122 Fed. App’x at 703.

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       The fourth factor to be considered is whether there are possible inequities in

 allowing the declaratory plaintiff to gain precedence in time or to change forums.

 Rolls-Royce stated, in its briefing, that this lawsuit has already been assigned a trial

 date while the state court action has not. Permitting this case to move forward might,

 therefore, result in a judgment being rendered in this forum sooner than in the state

 court. The undersigned finds that the critical element with regard to this factor is that

 the state court action includes Johnny’s as a party, while Johnny’s is not a party to the

 federal court suit. Permitting the federal court suit to move forward would, therefore,

 create the very real possibility of inconsistent and/or incomplete rulings. This weighs

 heavily in favor of this Court deferring to the state court proceeding.

       The fifth factor is whether the federal court is a convenient forum for the

 parties and witnesses. The undersigned finds that this is a neutral factor. While

 Rolls-Royce argues that federal court is more convenient in this case because its

 witnesses will be flying in from out-of-state for court appearances and there is an

 airport in Lafayette but none in Franklin, Rolls-Royce failed to consider the relative

 convenience of the two forums on the local litigants. Furthermore, the State District

 Court in Franklin is less than an hour’s drive from the Lafayette airport, i.e. a shorter

 distance than the local litigants would have to commute to Lafayette if the case

 remained here, and is approximately an hour and a half from the New Orleans

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 airport. The Fifth Circuit does not require a finding that one forum is more

 convenient than the other. It merely requires a finding that the proposed forum is or

 is not convenient. The undersigned finds that two forums are equally convenient.

       The sixth factor is whether retaining the lawsuit in federal court would serve

 the purposes of judicial economy. The undersigned finds this to be a critical issue.

 The state court suit involves all of the parties to the commercial transaction at issue:

 A&B, Johnny’s, and Rolls-Royce. The federal court lawsuit does not include

 Johnny’s as a party. Johnny’s, as the seller of the propellers, is in privity with A&B

 for purposes of the redhibition claim. Johnny’s is also in privity with Rolls-Royce

 as the manufacturer of the propellers with whom it has a contract. A&B is not in

 privity with Rolls-Royce, however, Rolls-Royce contends that A&B is subrogated to

 the rights of Johnny’s pursuant to La. Civ. Code Art. 2524. Johnny’s, as a seller in a

 redhibition claim, has a right of indemnification against Rolls-Royce as a

 manufacturer under La.Civ. Code Art. 2531. However, the statute specifically

 contemplates a defense to a seller’s claim against the manufacturer for indemnity if

 the seller is at fault.18 While Rolls-Royce would have this Court adjudicate its rights

 under its contract with Johnny’s to bar or limit the potential recovery of A&B,




       18
            See Comment (b) to Article 2531.

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 Johnny’s would not be present as a party to defend itself and/or its claim for

 indemnification may be prejudiced in its absence.

        Given the foregoing, the undersigned finds that Johnny’s is an indispensable

 party to the litigation under Fed. Rule Civ. P. 19(a)(1), and should be included in the

 suit in order to assure a full and fair resolution of the dispute. However, Johnny’s

 cannot be joined as its joinder would defeat jurisdiction. Therefore, at a minimum,

 the undersigned finds that this factor weighs heavily in favor of declining to exercise

 jurisdiction over this lawsuit.

        The final factor, whether the federal court is being called on to construe a state

 judicial decree involving the same parties and entered by the court before whom the

 parallel state suit between the same parties is pending, is not an issue in this lawsuit.

        In summary, the undersigned finds that three of the six relevant factors weigh

 heavily in favor of this Court abstaining, while the other three relevant factors are

 neutral. The ultimate purpose for evaluating these factors is to decide “whether the

 questions in controversy between the parties to the federal suit... can better be settled

 in the proceeding pending in state court.”19 “Fundamentally, the district court should

 determine whether the state action provides an adequate vehicle for adjudicating the



        19
                American Employers' v. Eagle, 122 Fed. App’x at 702, quoting Brillhart v. Excess,
 316 U.S. at 495.

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  claims of the parties and whether the federal action serves some purpose beyond mere

  duplication of effort.”20 The undersigned finds that the dispute presented in this

  lawsuit can better be settled in the related proceeding that is pending in Louisiana

  state court.

          Rather than merely recommending that this action be stayed, however, the

  undersigned recommends that this lawsuit be dismissed. This Court has discretion

  to dismiss this matter sua sponte.21 There is a pending state court action in which all

  of the matters presented in this lawsuit may be fully litigated. The undersigned finds

  that Johnny’s is an indispensable party under Rule 19(a), however its joinder cannot

  be accomplished without defeating jurisdiction. Pursuant to Fed. Rule Civ. P. 19(b)

  the court “must determine whether, in equity and good conscience, the action should

  proceed among the existing parties or be dismissed.” The factors in Rule 19 (b)

  militate in favor of dismissal just as the factors in Trejo militate in favor of

  abstention. Dismissing this action in deference to the state court action would


          20
                Magnolia Marine Transport Co., Inc. v. Laplace Towing Corp., 964 F.2d 1571, 1581
  (5 Cir. 1992), quoting PPG Indus., Inc. v. Continental Oil Co., 478 F.2d 674, 682 (5th Cir. 1973).
    th


          21
                   See, e.g., Clarendon America Ins. Co. v. Faulk & Foster Real Estate Services, 2009
  WL 511308, 3 (E.D. La. 2009) (“the Court’s broad discretion allows it to sua sponte dismiss this
  action in lieu of staying it.”) See, also, Agora Syndicate, Inc. v. Robinson Janitorial Specialists, Inc.,
  149 F.3d 371, 373 (5th Cir. 1998) (acknowledging without disapproval that district court dismissed
  declaratory judgment action sua sponte); Colony Ins. Co. v. Holley, 2002 WL 31683675, 1 (E.D. La.
  2002); Houston Gen. Ins. Co. v. Taylor Lumber & Treating, Inc., 1997 WL 40633, 3 (E.D. La. 1997)
  (dismissing suit sua sponte).

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  eliminate the possibility of inconsistent rulings and assure that all involved parties are

  properly before the court thereby eliminating any possible prejudice to the party not

  before this Court. No reasons have been articulated as to why this matter should be

  stayed rather than dismissed and A&B voiced no objection to the dismissal.

                                       CONCLUSION

        It would be a waste of judicial resources to permit this lawsuit to move forward

  when there is a related state court action pending in which all parties to the

  transaction at issue have been joined. Declining jurisdiction in deference to the state

  court action would serve the goal of judicial economy and also eliminate the

  possibility of inconsistent rulings. This Court has discretion to dismiss the action as

  well as to stay it, and there is no valid reason why this matter should not be concluded

  at this time. Accordingly, for these reasons, it is recommended that A&B’s motion

  to stay this action be DENIED AS MOOT and this action be DISMISSED.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Fed. R. Civ. P. 72(b),

  parties aggrieved by this recommendation have fourteen days from service of this

  report and recommendation to file specific, written objections with the Clerk of

  Court. A party may respond to another party’s objections within fourteen days after

  being served with of a copy of any objections or responses to the district judge at the

  time of filing.

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        Failure to file written objections to the proposed factual findings and/or the

  proposed legal conclusions reflected in the report and recommendation within

  fourteen days following the date of its service, or within the time frame authorized by

  Fed. R. Civ. P. 6(b), shall bar an aggrieved party from attacking either the factual

  findings or the legal conclusions accepted by the district court, except upon grounds

  of plan error. See Douglass v. United Services Automobile Association, 79 F.3d 1415

  (5th Cir. 1996).

        Signed this 15th day of September, 2010, at Lafayette, Louisiana.




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